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G.P.P., Inc. d/b/a Guardian Innovative Solutions
                                   v.
          Guardian Protection Products

           Case No.: 1:15-cv-00321-SKO




Ronnie Holman Clip Reports
        & Exhibits




                 Defendants' Copy


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                                                        GIS TD Master



 0 Holman, Ronnie (Vol. 01) - 05/12/2016                                         1 CLIP (RUNNING 00:28:32.475)


         June 19 designation

          0619 RI10512 VS                   40 SEGMENTS (RUNNING 00:28:32,475)                            III IIV
          1. PAGE 7:06 TO 7:07 (RUNNING 00:00:02.930)
                    06            Q.    Good morning, Mr. Holman.
                    07            A.    Good morning.

         2. PAGE 8:12 TO 8:14 (RUNNING 00:00:04.259)
                   12           Q.   Who's your current employer,
                   13    Mr. Holman?
                   19           A.   RPM Wood Finishes Group.

         3. PAGE 9:06 TO 9:09 (RUNNING 00:00:06.736)
                   06             Q.   And what is your current title at RPM?
                   07             A.   Wood finishes -- president.
                   08             Q.   President?
                   09             A.   Yes.

         4. PAGE 13:04 TO 13:12 (RUNNING 00:00:28.796)
                   09           Q.   Okay. And you.ment oned that Johnny
                   05    Green reports to you, correct?
                   06           A.   That is correct.
                   07           Q.   And is it your understanding that he's
                   08    employed by Guardian?
                   09           A.   I can tell you he gets a paycheck from
                   10    the RPM Wood Finishes Group, but Guardian is its
                   11    own legal entity, and he is 100 percent working for
                   12    Guardian, so...

         5. PAGE 15:24 TO 16:05 (RUNNING 00:00:21.871)
                  29            Q.   And who within the Guardian company is
                  25     above Mr. Green?
            00016:01            A.   Me.
                  02            Q.   Well, you're in the RPM Wood Finishes
                  03     Group, right? And --
                  09            A.   I'm also president of Guardian
                  05     Protection Products.

         6. PAGE 18:07 TO 18:09 (RUNNING 00:00:06.220)
                   07           Q.     Does Guardian have regular board
                   08    meetings?
                   09           A.     No, sir.

         7. PAGE 19:11 TO 19:13 (RUNNING 00:00:04.173)
                   11           Q.   Have you ever attended a board meeting
                   12    for Guardian?
                   13          A.    No.
         8. PAGE 19:17 TO 19:19 (RUNNING 00:00:08.681)
                   17           Q.   Have you ever seen any minutes of board
                   18    meetings related to Guardian?
                   19           A.   No.

        9. PAGE 25:19 TO 26:08 (RUNNING 00:00:32.723)
                   19            Q.    In October of 2013 Guardian terminated


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                                                     GIS TD Master

                   20 three distribution agreements with GIS; is that
                   21 correct?
                   22        A.   I believe that to be correct.
                   23        Q.   And those agreements were for the
                   24 states of Alabama, Tennessee, and Florida; is that
                   25 correct?
             00026:01        A.   Yes.
                   02        Q.   And at the time of that decision to
                   03 terminate those three GIS contracts, you were the
                   04 president of Guardian; is that correct?
                    05          A.   That is correct.
                    06          Q.   Okay. And you were also the president
                    07   of RPM Wood Finishes Group?
                    08          A.   Correct.
          10. PAGE 26:09 TO 26:17 (RUNNING 00:00:27.504)

                    09          Q.   Did Mr. Green seek your approval before
                    10   sending out notice of breach letters to GIS with
                    11   respect to the Alabama, Tennessee, and Florida
                    12   distributor agreements?
                    13          A.   He did.
                    14          Q.   And were you the person that approved
                    15   of Mr. Green sending out those termination -- or
                    16   notice of breach letters?
                    17          A.   Yes.
         11. PAGE26:18T02.6!2 (RUNNING 00:00:16.848)
                    18          Q.   And were you approving Mr. Green
                    19   sending out the notice of breach letters to GIS in
                    20   your capacity as the president of RPM Wood Finishes
                    21   Group or in your capacity as the president of
                    22   Guardian?
         12. PAGE 26:25T027:07 (RUNNING 00:00:20.251)
                  25                 THE WITNESS: I'm the president of the
            00027:01     group. Guardian beports through our group. And so
                  02     I guess it can be interpreted any way you want.
                  03     BY MR. LIDDIARD:
                  04            Q.   Well, when you were approving Mr. Green
                  05     sending out the notice of breach letters, were you
                   06    acting in your capacity as the president of RPM
                    07   Wood Finishes Group?
         13. PAGE 27:13 TO 28:02 (RUNNING 00:00:30.229)
                   13                THE WITNESS: I approved it. I
                   14    don't --
                   15    BY MR. LIDDIARD:
                   16           Q.   You don't know?
                   17           A.   I'm -- I'm there as president of our
                   18    group, and while Guardian is a legal entity,
                   19    Morrells is a legal entity, I work for our group.
                 20      I am legally president of those companies, so it
                 21      can be interpreted any way you want.
                 22             Q.   And your paychecks are cut by RPM Wood
                 23      Finishes Group, correct?
                 24             A.   As is everyone's.
                 25             Q.   Okay. You don't receive a separate
           00028:01      paycheck from Guardian?
                 02             A.   I do not.
         14. PAGE 28:17 TO 29:05 (RUNNING 00:00:56.328)
                   17           Q.   And prior to you authorizing Mr. Green
                   18    to send out notice of breach letters in 2013, had,
                   19    to your knowledge, GIS ever not met monthly


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 0 Holman, Ronnie (Vol. 02) - 10/06/2016 [Holman, Ronnie - 10/06/201...1         1 CLIP (RUNNING 00:01:25.693)


     Mr June 19 designation
          0619 RH1006 V3                     6 SEGMENTS (RUNNING 00:01:25.693)

          1. PAGE 5:07 TO 5:08 (RUNNING 00:00:01.510)
                    07            Q.   Good morning, Mr. Holman.
                    08            A.   Good morning.
          2. PAGE 11:01 TO 11:08 (RUNNING 00:00:12.346)
            00011:01            Q.   Okay. Well, so let me ask you a
                  02     question. You understand that you're here today
                  03     testifying on behalf of RPM, correct?
                  04            A.   I do.
                  05            Q.   And you understand that you're also
                  06     here today testifying on behalf of Guardian; is
                  07     that correct?
                  08            A.   I do. That is correct.,

         3. PAGE 17:14TO 17:17 (RUNNING 00:00:11.184)
                    14          Q.   What's the current corporate
                    15   relationship between Guardian and RPM?
                    16          A.   They're sister companies, but no
                    17   corporate relationship.
         4. PAGE 20:19 TO 20:22 (RUNNING 00:00:08.141)
                    19          Q.   And since you became president of RPM
                    20   approximately 13 years ago has Guardian held any
                    21   board meetings, to your knowledge?
                    22          A.   Not to my knowledge.
         5. PAGE 20:23 TO 21:13 (RUNNING 00:00:30.998)
                 23             Q.   Has Guardian held any annual
                 24      shareholder meetings since you've been president
                 25      of RPM?
           00021:01             A.   Not to my knowledge.
                 02             Q.   Does RPM have a board of directors?
                 03             A.   Wood Finishes Group has a board of
                 04      directors, yes.
                 05             Q.   And who currently sits on RPM'S board
                 06      of directors?
                 07             A.   Myself, Wesley Harris -- it will be
                 08      the same group.
                 09             Q.   So the same group of individuals sits
                 10      as -- on the board of directors currently at both
                 11      Guardian and RPM; is that correct?
                 12             A.   Yes, as well as a number of -- yes.
                 13      Yes.
         6. PAGE22:041022:14 (RUNNING 00:00:21.514)
                   04           Q.   So for the last five years, RPM and
                   05    Guardian have had the same individuals on their
                   06    board of directors, correct?
                   07           A.   Last four to five years, yes.
                   OS           Q.   And since you became president of RPM
                   09    approximately 13 years ago, has RPM held any board
                   10    meetings?
                   11           A.   No, sir.


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                    12          Q.   Has RPM held any annual shareholder
                    13   meetings since you became president of RPM?
                    14          A.   No, sir.




                                                        TOTAL: 1 CLIP FROM 1 DEPOSITION (RUNNING 00:01:25.693)




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